Case 2:20-cv-03858-SB-AS Document 50 Filed 06/24/22 Page 1 of 1 Page ID #:3112



  1

  2

  3

  4
                                                                                 JS-6
  5

  6

  7

  8                         UNITED STATES DISTRICT COURT

  9                        CENTRAL DISTRICT OF CALIFORNIA

 10

 11    ANTONIO MEDINA,
                                             Case No. CV 20-03858-SB(AS)
 12                      Petitioner,

 13                 v.
                                                     JUDGMENT
 14
      TERESA CISNEROS,
 15

 16                      Respondent.

 17

 18

 19         Pursuant to the Order Accepting Findings, Conclusions and
 20   Recommendations of United States Magistrate Judge,
 21

 22         IT IS ADJUDGED that the Petition is denied and dismissed with
 23   prejudice.
 24
      Dated:   June 24, 2022
 25

 26
                                               Stanley Blumenfeld, Jr.
 27
                                            United States District Judge
 28
